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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF LOUISIANA

       In re:                                                           Case No. 20-10846

       THE ROMAN CATHOLIC CHURCH                                        Section “A”
       OF THE ARCHDIOCESE OF NEW
       ORLEANS,                                                         Chapter 11
                          Debtor. 1



                                            CERTIFICATE OF SERVICE

                I hereby certify that I caused copies of the following documents to be served on April 4,

   2024, on all parties requiring service under the Court’s Ex Parte Order Authorizing the Debtor to

   Limit Notice and Establishing Notice Procedures through the Master Service List maintained by

   Donlin Recano & Co., Inc. (as set forth on the attached Exhibit A), via first-class United States

   mail, postage prepaid:

                Eleventh Interim Application For Allowance And Payment Of Compensation And
                Reimbursement Of Expenses Of Pachulski Stang Ziehl & Jones LLP As Co-
                Counsel For The Official Committee Of Unsecured Creditors For The Period
                November 1, 2023 Through February 29, 2024 [Docket No. 2918]

                Notice of Hearing [Docket No. 2919] (re: Docket No. 2918)

                Ninth Interim Application for Allowance and Payment of Compensation and
                Reimbursement of Expenses of Berkeley Research Group, LLC as Financial Advisors for
                the Official Committee of Unsecured Creditors for the Period November 1, 2023 Through
                February 29, 2024 [Docket No. 2921]

                Notice of Hearing [Docket 2922] (re: Docket No. 2921)

                Seventh Interim Application for Allowance and Payment of Compensation and
                Reimbursement of Expenses of Rock Creek Advisors, as Pension Financial Advisor
                for the Official Committee of Unsecured Creditors for the Period November 1, 2023
                Through February 29, 2024 [Docket No. 2923]

                Notice of Hearing [Docket 2925] (re: Docket No. 2923)

                                                            /s/ Nancy H. Brown
                                                              Nancy H. Brown

   1
      The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of business
   is located at 7887 Walmsley Ave., New Orleans, LA 70125.

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                                    EXHIBIT “A”




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                                  The Roman Catholic Church of the Archdiocese of New Orleans


          ADVANCED RECONSTRUCTIVE CARE
          DR. RAVI TANDON                        AMERIGROUP LA                       ANNETTE JARVIS
          3900 VETERANS MEMORIAL BLVD            PO BOX 28147                        222 SOUTH MAIN ST.,5TH FLOOR
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          METAIRIE LA 70002




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          WILLIAM H ARATA                        DAVID W ARDOIN                      FORMERLY TMI TRUST COMPANY
          216 AUSTIN ST                          114 LAURA DRIVE STE D               5901 PEACHTREE DUNWOODY RD
          BOGALUSA LA 70427                      THIBODAUX LA 70301                  STE C-495
                                                                                     ATLANTA GA 30328




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          ATMOS ENERGY LOUISIANA                 AVA LAW GROUP INC
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                                                 BAKER DONELSON BEARMAN CALDWELL &
          BADIA MORO HEWETT ARCHITECTS LLC                                           BIENVENU FOSTER RYAN & O'BANNON LLC
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                                                 NEW ORLEANS LA 70170




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          NEW ORLEANS LA 70113




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                                                                                     HOUMA LA 70364




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                                               ST. LOUIS MO 63102-2741




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                                                  BATON ROUGE LA 70821-0201               BATON ROUGE LA 70802




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                                                  BATON ROUGE LA 70808                    NEW ORLEANS LA 70130




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                                                  TOM HEDING                              HEATHER GORMAN
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                                                  SUMMIT NJ 07901                         NEW ORLEANS LA 70124
          NEWARK NJ 07102




                                                  NEWMAN MATHIS BRADY & SPEDALE           NEWMAN MATHIS BRADY & SPEDALE
                                                  MARK C LANDRY                           ROBERT A MATHIS
          NAME AND ADDRESS INTENTIONALLY
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          OMITTED
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                                                  METAIRIE LA 70002-3618                  METAIRIE LA 70002




          NEWMAN MATHIS BRADY & SPEDALE           OCCUPATIONAL SAFETY AND HEALTH
                                                                                          OCHSNER HEALTH SYSTEM
          WAYNE A MAIORANA JR                     ADMINISTRATION
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                                                  NEW ORLEANS LA 70130-6534




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                                                 SHER GARNER CAHILL RICHTER KLEIN & HILBERT
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                                                 NICHOLAS J SMELTZ
          ALTAZAN;JAMIE D CANGELOSI                                                           ROSS J. DONNES
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                                                 BATON ROUGE LA 70821-2348
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                                                                                              BEL AIR MD 21014




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          WASHINGTON DC 20530-0001
                                                 WASHINGTON DC 20210                          DALLAS TX 75202




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          US DEPT OF THE TREASURY                                                             US DEPT OF TREASURY
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          JESSICA VASQUEZ,ESQ
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                                       WHITNEY BANK CORPORATE TRUST
          WHITE OAK CONSULTING                                          WRIGHT NATIONAL FLOOD INSURANCE
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